Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 1 of 39 PageID #:1
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 2 of 39 PageID #:2
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 3 of 39 PageID #:3
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 4 of 39 PageID #:4
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 5 of 39 PageID #:5
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 6 of 39 PageID #:6
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 7 of 39 PageID #:7
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 8 of 39 PageID #:8
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 9 of 39 PageID #:9
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 10 of 39 PageID #:10
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 11 of 39 PageID #:11
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 12 of 39 PageID #:12
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 13 of 39 PageID #:13
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 14 of 39 PageID #:14
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 15 of 39 PageID #:15
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 16 of 39 PageID #:16
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 17 of 39 PageID #:17
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 18 of 39 PageID #:18
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 19 of 39 PageID #:19
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 20 of 39 PageID #:20
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 21 of 39 PageID #:21
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 22 of 39 PageID #:22
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 23 of 39 PageID #:23
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 24 of 39 PageID #:24
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 25 of 39 PageID #:25
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 26 of 39 PageID #:26
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 27 of 39 PageID #:27
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 28 of 39 PageID #:28
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 29 of 39 PageID #:29
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 30 of 39 PageID #:30
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 31 of 39 PageID #:31
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 32 of 39 PageID #:32
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 33 of 39 PageID #:33
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 34 of 39 PageID #:34
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 35 of 39 PageID #:35
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 36 of 39 PageID #:36
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 37 of 39 PageID #:37
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 38 of 39 PageID #:38
Case: 1:05-cv-01549 Document #: 1 Filed: 03/16/05 Page 39 of 39 PageID #:39
